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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                           FLORENCE DIVISION

Linwood Clifton Wood,                        Case No. 4:20-cv-02457-TLW

             PETITIONER

       v.
                                                            Order
Warden, FCI Edgefield,

             RESPONDENT



      Petitioner Linwood Clifton Wood, proceeding pro se, filed a petition for a writ

of habeas corpus pursuant to 28 U.S.C. § 2241. ECF No. 1. The matter now comes

before the Court for review of the Report and Recommendation (Report) filed by the

magistrate judge to whom this case was assigned. On the sole issue in the Report,

the magistrate judge recommends denying Petitioner’s motion for leave to proceed in

forma pauperis (IFP Motion). Rather than filing objections to the Report, Petitioner

simply paid the $5 filing fee. ECF No. 15. Accordingly, the Court terminates the

Report, ECF No. 13, and IFP Motion, ECF No. 10, as MOOT.

      IT IS SO ORDERED.

                                      s/ Terry L. Wooten
                                      Terry L. Wooten
                                      Senior United States District Judge

September 29, 2020
Columbia, South Carolina




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